                       UNITED STATES DISTRICT COURT FOR THE
                       WESTERN DISTRICT OF NORTH CAROLINA
                               STATESVILLE DIVISION

                                    DOCKET NO. 5:08CR28-V

UNITED STATES OF AMERICA,                        )
                                                 )
                       Plaintiff,                )
                                                 )
               v.                                )             PRELIMINARY ORDER
                                                 )               OF FORFEITURE
(2) HUBERT GERMINE REDFEAR,                      )
                                                 )
                       Defendant.                )

       In the Superseding Bill of Indictment in this case, the United States sought forfeiture of

property of the Defendant as property that was used or intended to be used to facilitate the crimes

charged, which would be subject to forfeiture under 21 U.S.C. § 841(a)(1), 21 U.S.C. § 846 and 21

U.S.C. §853.

       Defendant entered into a plea agreement; subsequently pled guilty to Count One in the

Superseding Bill of Indictment; and was adjudged guilty of the offense charged in that count. In the

plea agreement, Defendant has agreed to forfeit specific property as described below.

       It is therefore ORDERED:

       1. Based upon Defendant’s plea of guilty, the United States is authorized to seize the

following property belonging to Defendant, and it is hereby forfeited to the United States for

disposition according to law, subject to the provisions of 21 U.S.C. § 853(n):

               Approximately 7 acres near Rock, West Virginia, in Mercer County, as
               described in a deed recorded in Book 907, Page 450 on February 21, 2007, in the
               Office of the County Commission of Mercer County, WV. This property was
               previously conveyed on August 21, 2002 by a deed recorded in Deed Book 848,
               Page 174.




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        2. Pursuant to 21 U.S.C. §853(n)(1), the Government shall publish notice of this Order;

notice of its intent to dispose of the property in such manner as the Attorney General may direct; and

notice that any person, other than the Defendant, having or claiming a legal interest in any of the

above-listed forfeited property must file a petition with the Court within thirty days of the final

publication of notice or of receipt of actual notice, whichever is earlier. This notice shall state that

the petition shall be for a hearing to adjudicate the validity of the petitioner’s alleged interest in the

property, shall be signed by the petitioner under penalty of perjury, and shall set forth the nature and

extent of the petitioner’s right, title or interest in each of the forfeited properties and any additional

facts supporting the petitioner’s claim and the relief sought. The United States may also, to the extent

practicable, provide direct written notice to any person known to have alleged an interest in property

that is the subject of this Order of Forfeiture, as a substitute for published notice as to those persons

so notified.

        3. Upon adjudication of all third-party interests, this Court will enter a Final Order of

Forfeiture pursuant to 21 U.S.C. §853(n).

        SO ORDERED.                                 Signed: September 16, 2009




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